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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF CONNECTICUT

                                   :
UNITED STATES                      :
                                   :
                                   :
v.                                 :       CRIM. NO. 3:14CR81 (JAM)
                                   :
SCOTT ET AL                        :
                                   :

     RULING ON PRETRIAL DISCOVERY MOTIONS AND MOTIONS IN LIMINE

      The following defendants have filed motions to adopt or

join the substantive motions of their co-defendants:

         Defendant Melkuan Scott seeks to join defendant Arthur

          Stanley’s Motion in Limine re: Gang Affiliation [Doc.

          #419] and defendant Ricardo Howe’s Motion in Limine:

          Exclusion of Youtube Video [Doc. #446] [Doc. #487].

         Defendant Arthur Stanley seeks to join defendant Tyshawn

          McDade’s Motion to Strike Surplusage and Preclude

          Evidence [Doc. #424], Motion to Suppress Contents of

          Intercepted Wire or Oral Communications [Doc. #422], and

          Motion in Limine re: Prior Felony Record [Doc. #421]

          [Doc. #434].

         Defendant Rashawn Dubose seeks to join defendant McDade’s

          Motion to Suppress Contents of Intercepted Wire or Oral

          Communications [Doc. #422] [Doc. #435].

         Defendant Dubose also seeks to join defendant Stanley’s

          Motion to Compel Disclosure of a Summary or Expert

          Testimony [Doc. #418] and Motion in Limine re: Gang
          Affiliation [Doc. #419] [Doc. #436].
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       Defendant Ricardo Howe seeks to join defendant Stanley’s

        Motion to Compel Disclosure of a Summary or Expert

        Testimony [Doc. #418], Motion for Disclosure of Prior

        Misconduct [Doc. #417], and Motion in Limine re: Gang

        Affiliation [Doc. #419], Motion to Suppress Title III

        Evidence [Doc. #420], and defendant Scott’s Motion to

        Suppress Title III evidence [Doc. #431] [Doc. #449].

    The Court GRANTS the pending motions to adopt/join [Doc. ##

434, 435, 436, 449, 487] only to the extent that they seek to
join the motions so indicated. The Court otherwise

reincorporates by reference its prior rulings on the motions

which defendants seek to join or adopt.

    This is not a recommended ruling.        This is a non-

dispositive discovery ruling and order which is reviewable

pursuant to the "clearly erroneous" statutory standard of

review.   28 U.S.C. § 636 (b)(1)(A); Fed. R. Crim. P. 59(a).               As

such, it is an order of the Court unless reversed or modified by

the district judge upon motion timely made.

    SO ORDERED at Bridgeport this 1st day of April 2015.



                                 _______/s/___________________
                                 HOLLY B. FITZSIMMONS
                                 UNITED STATES MAGISTRATE JUDGE




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